          Case 5:22-cr-00009-JD Document 23 Filed 04/28/23 Page 1 of 3




             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )
                                                  )
v.                                                )   Case No. CR-22-009-JD
                                                  )
JILL NICOLE FORD,                                 )
                                                  )
                     Defendant.                   )

 UNOPPOSED MOTION FOR EXTENTION OF TIME IN WHICH TO SUBMIT
                SENTENCING MEMORANDUM

       COMES NOW, Defendant by and through counsel of record, J. Patrick Quillian,

Esq., and moves the Court for an order extending the time period in which to file sentencing

memorandum in this matter. Ms. Ford submits the following in support of this motion:

       1. Counsel received the Final Presentence Investigation Report in this matter (Doc.

          No. 22) (the “PSR”) on April 17, 2023, and pursuant to WD OK LCrR 32.2, Ms.

          Ford’s sentencing memorandum must be filed on or before May 1, 2023.

       2. Since counsel received the PSR, counsel’s docket has been congested with:

              a. Multiple in-court appearances in the Northern and Western Districts, as

                 well as out-of-county appearances in state Court; as well as

              b. Numerous deadlines in federal cases, many of which requiring out-of-

                 county jail visits to comply therewith (e.g., PSR objections, Speedy Trial

                 waivers, plea paperwork etc.).
        Case 5:22-cr-00009-JD Document 23 Filed 04/28/23 Page 2 of 3




     3. Furthermore, counsel has a change of plea in the Northern District scheduled for

        Monday, May 1, 2023.

     4. Counsel has not had sufficient time to discuss the sentencing memorandum with

        Ms. Ford, who herself has a busy work schedule and is currently on bond living

        in Texas, or otherwise begin to draft the sentencing memorandum due to the

        docket congestion discussed above.

     5. Counsel believes that a deadline extension of eleven (11) days to May 12, 2023,

        would give him ample time to discuss this matter fully with Ms. Ford and to

        complete the sentencing memorandum.

     6. Counsel has not previously requested an extension of time to file Defendant’s

        sentencing memorandum.

     7. A sentencing date has not been scheduled. Thus, the extension requested herein

        should not impact the sentencing date.

     8. Assistant United States Attorney, Jessica Perry advised counsel that she does not

        object to the extension requested herein.


     WHEREFORE, based on the above and foregoing, Ms. Ford respectfully requests

this Honorable Court enter an order extending the deadline in which to submit a

sentencing memorandum from May 1, 2023, to May 12, 2023.


                                       Respectfully submitted,

                                       /s/J. Patrick Quillian
                                       J. Patrick Quillian, OBA#20811
                                       Phillips, Coventon, Quillian &
         Case 5:22-cr-00009-JD Document 23 Filed 04/28/23 Page 3 of 3




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                                 Certificate of Service

  X I hereby certify that on or before the 28th day of April 2023, a copy of the attached
document was electronically transmitted to all ECF registrants in the above-referenced
matter that have entered their appearance, including:

Jessica Perry Esq., Assistant United States Attorney


                                               s/J. Patrick Quillian
                                               J. Patrick Quillian, OBA#20811
